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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERJCA,
                                                                 RELEASE ORDER
                             Plaintiff,
                                                         Case No. 21-mj-05 (WIWD)
       v.                                                Case No. I :21-mj-00031 (DDC)
KEVIN DANIEL LOFTUS,
                             Defendant.


For reasons stated on the record in this case, it is ORDERED that the above-named defendant shall
be released during the pendency of this case upon defendant's promise to obey the following
conditions of release:

                         Standard Conditions for All Released Defendants

       1.     Defendant shall not commit any offense in violation of federal, state or local law
              while on release.

       2.     Defendant shall appear at all proceedings as required and shall surrender at the
              time and place directed by further court order for service of any sentence
              subsequently imposed in this case.

       3.     Defendant shall report immediately to the U.S. Marshals Service for processing
              and then to Pretrial Services for a post-hearing interview.

       4.     Defendant shall cooperate in the collection of a DNA sample as required by 18
              U.S.C. § 3142(b).

       5.     Defendant shaII hereafter meet with Pretrial Services at the times and places
              directed and shall obey all directions and instructions of Pretrial Services.

       6.     Defendant shall next appear at this location: court-to-court video conference with
              the U.S. District Court for the District of Columbia at noon, CST, on January 15,
              2021.

       7.     Defendant shall not engage in any undercover or informant activity on behalf of
              any government agency, except for a debriefing, without prior written approval of
              a district judge of this court.

       8.     If defendant is charged with a felony, then defendant shall not ship, transport or
              receive any firearm or ammunition. Note that this is not a prohibition against the
              continued possession of firearms, which is addressed in condition number 15,
              below.
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       9.    This court has a zero-tolerance policy for drug use by criminal defendants released
             on conditions. Violation of any condition of release or of any other direction or
             instruction given by Pretrial Services relating to drugs or drug use shall result in
             return to court for a hearing on the modification or revocation of conditions of
             release. To ensure the fair enforcement of this policy, every criminal defendant
             released on conditions shall be subjected to at least one random test for drug use.

             Note Well: If defendant has a drug or alcohol use problem, it is defendant's
             obligation to advise Pretrial Services now so that appropriate conditions can be
             considered and fashioned to address the problem.

       10.   Defendant shall surrender defendant's passport to the clerk of this court. If the
             defendant is acquitted or the charges are dismissed, then the clerk shall return the
             passport to the defendant. If the defendant is convicted~ then the clerk shall send
             the passport and a copy of the judgment and conviction order to the U.S. State
             Department. Defendant shall not apply for a replacement passport while on
             pretrial release or while serving any sentence if convicted.

       11.   Defendant shall report in advance to Pretrial Services all changes in employment,
             residence, and telephone.

       12.   If defendant has any contact with any representative of any law enforcement
             agency regarding any criminal or traffic matter, then defendant shall report this
             contact to Pretrial Services within 24 hours of the contact.


                                          Additional Conditions

       13.   Defendant shall register with local law enforcement agencies as directed by Pretrial
             Services.

      14.    Defendant shall seek and maintain employment in a manner approved by Pretrial
             Services.

_½_   15.    Defendant shall not use or possess firearms, destructive devices, or other dangerous
             weapons.

_K_   16.    Defendant shall /abstain from any / Fefl:ain from exc@ssi>,e / use of alcohol.

      17.    Defendant shall not associate in any manner with persons who use or possess
             controlled substances, or previously were known to use or possess controlled
             substances, and defendant shall avoid places where controlled substances are or
             were known to have been used, possessed or dispensed.




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     18.   Defendant shall not use, possess, buy or sell any illicit or narcotic drugs or any
           other controlled substance defined in 21 U.S.C. §802, unless prescribed by a
           licensed medical practitioner with the knowledge of Pretrial Setvices. Defendant
           shall not use methadone or obtain a prescription for methadone.

X    19.   Defendant shall submit to urinalysis or other testing as directed by Pretrial
           Services to detect drug or alcohol use.

     20.   Defendant shall undergo an Alcohol and Other Drug Assessment at the direction
           of Pretrial Services and shall comply with any instructions or directions given by
           Pretrial Services as a result of the assessment.

     21.   Defendant shall not associate with, speak to, telephone, text, email or have any
           contact whatsoever with these people:



           If codefendants are listed above, this prohibition does not apply to association that
           occurs in the presence of the attorneys for all defendants during bona fide legal
           defense meetings.

X    22.   Defendant shall not travel outside the following geographic area except when
           traveling directly to court in the District of Columbia, or when prior permission
           has been obtained from Pretrial Services:

           EAU CLAIRE &CHIPPEWA COUNTIES, WISCONSIN



    23.    Defendant shall observe the following curfew:

           Remain at this residence: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


           During these times:

           Exceptions from this curfew must be approved in advance by Pretrial Services.

    24.    Defendant shall submit to location monitoring [radio frequency (RF) or Global
           Positioning System (GPS)] as directed by Pretrial Services. Defendant shall not
           / shall / pay the cost of monitoring.




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     25.     Defendant shall be placed in the third-party custody of these people:




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                                   Custodian s Promise to the Court

     Each undersigned third-party custodian has read these conditions of release, understands what   r
     these conditions require the defendant to do and not to do, and promises the court that the
     custodian will:
                                                                                                     I
                                                                                                     I

       (I)   Supervise the defendant to ensure that the defendant complies with these
                                                                                                     I

       (2)
             conditions of release;

             Use every effort to ensure that the defendant appears as required at court
                                                                                                     I
                                                                                                     i
             proceedings in this case; and

       (3)   Immediately notify Pretrial Services, the court, and if needed, local law
             enforcement authorities if defendant violates any release condition or if defendant
             appears to be planning to flee or actually flees.


     Signed: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date: _ _ _ _ _ __



     26.     Defendant shall participate in mental health assessment, treatment and counseling
             as approved and directed by Pretrial Services. Defendant shall follow all treatment
             directives and take any medication prescribed by defendant's treatment provider,
             as approved by Pretrial Services. Defendant shall waive any patient-provider
             privilege as to this process so that Pretrial Services may oversee it properly.
             Defendant is responsible for obtaining funding for any required treatment,
             counseling or medications, with assistance from Pretrial Services.

     27.     Defendant shall notify third parties, including his employer, his clients and the
             financial institutions with which he conducts business, of the pending federal
             charges and shall permit Pretrial Services to make notifications and to confirm
             compliance with this condition.


L    2s.     Defendant shall not attend or participate in any in-person gathering that has any
             purpose to advocate, protest or demonstrate any point, cause, belief or position.

     29.




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                                        Notice of Penalties and Sanctions

The defendant•s violation of any of the conditions of release imposed in this order may result in the immediate
issuance of a warrant for the defendant's arrest, the revocation of release, and an order of detention. It could also
result in a separate prosecution for contempt under 18 U.S.C. § 401, which is punishable by a term of
imprisonment and a fine. See 18 U.S.C. § 3148.
                                                                                                                          ;.
If the defendant commits a crime while released pursuant to this order and is later convicted of that new crime,
then the defendant can also be prosecuted in federal court for having committed a crime while released, which
is a violation of 18 U.S.C. § 3147. If the new offense is a felony, the defendant would face up to ten years in
prison. If the new offense is a misdemeanor, the defendant would face up to one year in prison. Any sentence
imposed for such a violation would be consecutive to any other sentence imposed upon the defendant.

It is a crime for the defendant knowingly to fail to appear as required by these conditions of release, or to fail to
appear for the service of sentence pursuant to a court order. If the defendant was released in connection with a
charge of, or while awaiting sentence, surrender for the service of a sentence, or appeal or certiorari after
conviction for:

          1.     An offense punishable by death, life imprisonment, or imprisonment for a term of
                 fifteen years or more, the defendant shall be fined not more than $250,000 or
                 imprisoned for not more than ten years or both;

          2.     An offense punishable by imprisonment for a term of five years or more, but less
                 than fifteen years, the defendant shall be fined not more than $250,000 or
                 imprisoned for not more than five years, or both;

          3.     Any other felony, the defendant shall be fined not more than $250,000 or
                 imprisoned not more than two years, or both;

          4.     A misdemeanor, the defendant shall be fined not more than $100,000 or
                 imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be consecutive to a sentence of
imprisonment for any other offense. See 18 U.S.C. § 3146.

It is a federal crime to intimidate, to influence, or to injure jurors or officers of the court or to attempt to do so.
See 18 U.S.C. § 1503.

It is a federal crime to obstruct criminal investigations by bribery, or by disclosing the existence or content of
subpoenas to financial institutions or the insurance industry. See 18 U.S.C. § 1510.

It is a federal crime to intimidate, to harass, to influence, or to injure witnesses, potential witnesses, victims or
informants, or to threaten or attempt to do so. See 18 U.S.C. § 1512.

It is a federal crime to retaliate against a witness, victim or informant, or to threaten or attempt to do so. See 18
u.s.c. § 1513.


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                           Acknowledgment and Promise of the Defendant

               I acknowledge that I am the defendant in this case.

               I am aware of and I understand all of the conditions of release that have been
               imposed upon me.

               I promise to obey all conditions of release, to appear as directed, and to
               surrender for service of any sentence imposed.

               I am aware of and I understand the prohibitions and penalties set forth above
               in the Notice of Penalties and Sanctions section of this release order.




                                                  ORDER

        It is ORDERED that the defendant is RELEASED onto these pretrial conditions upon signing
        the Acknowledgment and Promise above.




                      STEPHEN L. CROCKER                             Date
                      Magistrate Judge




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